 AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 07/15)
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 2 filed 08/22/19 PageID.28 Page 1 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                   Case No. 1:19-cv-00670
                                                                                                                   Hon.
                                                                                                 TO: State Bar of Michigan
                                    v.
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                       ADDRESS: Michael Franck Building
                                                                                                             306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                            Lansing, MI 48933
                       W. Heath


  A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                         Derk A. Wilcox (P66177)
                                                                                                         Mackinac Center Legal Foundation
  YOU ARE HEREBY SUMMONED and required to serve                                                          140 West Main Street
  upon plaintiff, an answer to the attached complaint or a motion                                        Midland, MI 48640
  under Rule 12 of the Federal Rules of Civil Procedure within
    21        days after service of this sum mons on y ou (not                                         CLERK OF COURT
  counting the day you received it). If y ou fail to respond,
  judgment by default will be entered against you for the relief
  demanded in the complaint. You must also file your answer
  or motion with the Court.
  The Court has offices in the following locations:

     399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
     P.O. Box 698, 314 Federal Building, Marquette, MI 49855
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                         August 22, 2019
                                                                                                         By: Deputy Clerk                                                    Date


                                                                                    PROOF OF SERVICE
  This summons for                                    State Bar of Michigan                                            was received by me on                                             .
                                               (name of individual and title, if any)                                                                               (date)


   I personally served the summons on the individual at
  on                                .                                                                                         (place where served)
                        (date)


    I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                              (name)

  of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                            (date)


    I served the summons on                                                                                                         , who is designated by law to accept service
                                                                              (name of individual)

  of process on behalf of                                                                                                                        on                                         .
                                                                              (name of organization)                                                                (date)


    I returned the summons unexecuted because                                                                                                                                            .
    Other (specify)                                                                                                                                                                     .

        My fees are $                                       for travel and $                                           for services, for a total of $                                    .
  I declare under the penalty of perjury that this information is true.
  Date:
                                                                                                                                         Server’s signature

  Additional information regarding attempted service, etc.:
                                                                                                                                  Server’s printed name and title



                                                                                                                                       Server’s address
 AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 07/15)
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 2 filed 08/22/19 PageID.29 Page 2 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                   Case No. 1:19-cv-00670
                                                                                                                   Hon.
                                                                                                 TO: Jennifer M. Grieco
                                    v.
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                       ADDRESS: Michael Franck Building
                                                                                                             306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                            Lansing, MI 48933
                       W. Heath


  A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                         Derk A. Wilcox (P66177)
                                                                                                         Mackinac Center Legal Foundation
  YOU ARE HEREBY SUMMONED and required to serve                                                          140 West Main Street
  upon plaintiff, an answer to the attached complaint or a motion                                        Midland, MI 48640
  under Rule 12 of the Federal Rules of Civil Procedure within
    21        days after service of this sum mons on y ou (not                                         CLERK OF COURT
  counting the day you received it). If y ou fail to respond,
  judgment by default will be entered against you for the relief
  demanded in the complaint. You must also file your answer
  or motion with the Court.
  The Court has offices in the following locations:

     399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
     P.O. Box 698, 314 Federal Building, Marquette, MI 49855
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                         August 22, 2019
                                                                                                         By: Deputy Clerk                                                    Date


                                                                                    PROOF OF SERVICE
  This summons for                                     Jennifer M. Grieco                                              was received by me on                                             .
                                               (name of individual and title, if any)                                                                               (date)


   I personally served the summons on the individual at
  on                                .                                                                                         (place where served)
                        (date)


    I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                              (name)

  of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                            (date)


    I served the summons on                                                                                                         , who is designated by law to accept service
                                                                              (name of individual)

  of process on behalf of                                                                                                                        on                                         .
                                                                              (name of organization)                                                                (date)


    I returned the summons unexecuted because                                                                                                                                            .
    Other (specify)                                                                                                                                                                     .

        My fees are $                                       for travel and $                                           for services, for a total of $                                    .
  I declare under the penalty of perjury that this information is true.
  Date:
                                                                                                                                         Server’s signature

  Additional information regarding attempted service, etc.:
                                                                                                                                  Server’s printed name and title



                                                                                                                                       Server’s address
 AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 07/15)
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 2 filed 08/22/19 PageID.30 Page 3 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                   Case No. 1:19-cv-00670
                                                                                                                   Hon.
                                                                                                 TO: Dennis M. Barnes
                                    v.
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                       ADDRESS: Michael Franck Building
                                                                                                             306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                            Lansing, MI 48933
                       W. Heath


  A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                         Derk A. Wilcox (P66177)
                                                                                                         Mackinac Center Legal Foundation
  YOU ARE HEREBY SUMMONED and required to serve                                                          140 West Main Street
  upon plaintiff, an answer to the attached complaint or a motion                                        Midland, MI 48640
  under Rule 12 of the Federal Rules of Civil Procedure within
              days after service of this sum mons on y ou (not                                         CLERK OF COURT
  counting the day you received it). If y ou fail to respond,
  judgment by default will be entered against you for the relief
  demanded in the complaint. You must also file your answer
  or motion with the Court.
  The Court has offices in the following locations:

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     P.O. Box 698, 314 Federal Building, Marquette, MI 49855
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                         August 22, 2019
                                                                                                         By: Deputy Clerk                                                    Date


                                                                                    PROOF OF SERVICE
  This summons for                                     Dennis M. Barnes                                                was received by me on                                             .
                                               (name of individual and title, if any)                                                                               (date)


   I personally served the summons on the individual at
  on                                .                                                                                         (place where served)
                        (date)


    I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                              (name)

  of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                            (date)


    I served the summons on                                                                                                         , who is designated by law to accept service
                                                                              (name of individual)

  of process on behalf of                                                                                                                        on                                         .
                                                                              (name of organization)                                                                (date)


    I returned the summons unexecuted because                                                                                                                                            .
    Other (specify)                                                                                                                                                                     .

        My fees are $                                       for travel and $                                           for services, for a total of $                                    .
  I declare under the penalty of perjury that this information is true.
  Date:
                                                                                                                                         Server’s signature

  Additional information regarding attempted service, etc.:
                                                                                                                                  Server’s printed name and title



                                                                                                                                       Server’s address
 AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 07/15)
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 2 filed 08/22/19 PageID.31 Page 4 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                   Case No. 1:19-cv-00670
                                                                                                                   Hon.
                                                                                                 TO: Robert J. Buchanan
                                    v.
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                       ADDRESS: Michael Franck Building
                                                                                                             306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                            Lansing, MI 48933
                       W. Heath


  A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                         Derk A. Wilcox (P66177)
                                                                                                         Mackinac Center Legal Foundation
  YOU ARE HEREBY SUMMONED and required to serve                                                          140 West Main Street
  upon plaintiff, an answer to the attached complaint or a motion                                        Midland, MI 48640
  under Rule 12 of the Federal Rules of Civil Procedure within
    21        days after service of this sum mons on y ou (not                                         CLERK OF COURT
  counting the day you received it). If y ou fail to respond,
  judgment by default will be entered against you for the relief
  demanded in the complaint. You must also file your answer
  or motion with the Court.
  The Court has offices in the following locations:

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     P.O. Box 698, 314 Federal Building, Marquette, MI 49855
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                         August 22, 2019
                                                                                                         By: Deputy Clerk                                                    Date


                                                                                    PROOF OF SERVICE
  This summons for                                    Robert J. Buchanan                                               was received by me on                                             .
                                               (name of individual and title, if any)                                                                               (date)


   I personally served the summons on the individual at
  on                                .                                                                                         (place where served)
                        (date)


    I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                              (name)

  of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                            (date)


    I served the summons on                                                                                                         , who is designated by law to accept service
                                                                              (name of individual)

  of process on behalf of                                                                                                                        on                                         .
                                                                              (name of organization)                                                                (date)


    I returned the summons unexecuted because                                                                                                                                            .
    Other (specify)                                                                                                                                                                     .

        My fees are $                                       for travel and $                                           for services, for a total of $                                    .
  I declare under the penalty of perjury that this information is true.
  Date:
                                                                                                                                         Server’s signature

  Additional information regarding attempted service, etc.:
                                                                                                                                  Server’s printed name and title



                                                                                                                                       Server’s address
 AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 07/15)
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 2 filed 08/22/19 PageID.32 Page 5 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                   Case No. 1:19-cv-00670
                                                                                                                   Hon.
                                                                                                 TO: Dana M. Warnez
                                    v.
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                       ADDRESS: Michael Franck Building
                                                                                                             306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                            Lansing, MI 48933
                       W. Heath


  A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                         Derk A. Wilcox (P66177)
                                                                                                         Mackinac Center Legal Foundation
  YOU ARE HEREBY SUMMONED and required to serve                                                          140 West Main Street
  upon plaintiff, an answer to the attached complaint or a motion                                        Midland, MI 48640
  under Rule 12 of the Federal Rules of Civil Procedure within
    21        days after service of this sum mons on y ou (not                                         CLERK OF COURT
  counting the day you received it). If y ou fail to respond,
  judgment by default will be entered against you for the relief
  demanded in the complaint. You must also file your answer
  or motion with the Court.
  The Court has offices in the following locations:

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     P.O. Box 698, 314 Federal Building, Marquette, MI 49855
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                         August 22, 2019
                                                                                                         By: Deputy Clerk                                                    Date


                                                                                    PROOF OF SERVICE
  This summons for                                      Dana M. Warnez                                                 was received by me on                                             .
                                               (name of individual and title, if any)                                                                               (date)


   I personally served the summons on the individual at
  on                                .                                                                                         (place where served)
                        (date)


    I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                              (name)

  of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                            (date)


    I served the summons on                                                                                                         , who is designated by law to accept service
                                                                              (name of individual)

  of process on behalf of                                                                                                                        on                                         .
                                                                              (name of organization)                                                                (date)


    I returned the summons unexecuted because                                                                                                                                            .
    Other (specify)                                                                                                                                                                     .

        My fees are $                                       for travel and $                                           for services, for a total of $                                    .
  I declare under the penalty of perjury that this information is true.
  Date:
                                                                                                                                         Server’s signature

  Additional information regarding attempted service, etc.:
                                                                                                                                  Server’s printed name and title



                                                                                                                                       Server’s address
 AO 440 (Rev. 01/09) Summons in a Civil Action - MIWD (Rev. 07/15)
                      Case 1:19-cv-00670-RJJ-PJG ECF No. 2 filed 08/22/19 PageID.33 Page 6 of 6

                         SUMMONS IN A CIVIL ACTION
       UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                          Lucille S. Taylor
                                                                                                                   Case No. 1:19-cv-00670
                                                                                                                   Hon.
                                                                                                 TO: James W. Heath
                                    v.
 State Bar of Michigan, Jennifer M. Grieco, Dennis M.                                       ADDRESS: Michael Franck Building
                                                                                                             306 Townsend Street
Barnes, Robert J. Buchanan, Dana M. Warnez, James                                                            Lansing, MI 48933
                       W. Heath


  A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                         Derk A. Wilcox (P66177)
                                                                                                         Mackinac Center Legal Foundation
  YOU ARE HEREBY SUMMONED and required to serve                                                          140 West Main Street
  upon plaintiff, an answer to the attached complaint or a motion                                        Midland, MI 48640
  under Rule 12 of the Federal Rules of Civil Procedure within
    21        days after service of this sum mons on y ou (not                                         CLERK OF COURT
  counting the day you received it). If y ou fail to respond,
  judgment by default will be entered against you for the relief
  demanded in the complaint. You must also file your answer
  or motion with the Court.
  The Court has offices in the following locations:

     399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
     P.O. Box 698, 314 Federal Building, Marquette, MI 49855
     107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
     113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                         August 22, 2019
                                                                                                         By: Deputy Clerk                                                    Date


                                                                                    PROOF OF SERVICE
  This summons for                                      James W. Heath                                                 was received by me on                                             .
                                               (name of individual and title, if any)                                                                               (date)


   I personally served the summons on the individual at
  on                                .                                                                                         (place where served)
                        (date)


    I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                              (name)

  of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                            (date)


    I served the summons on                                                                                                         , who is designated by law to accept service
                                                                              (name of individual)

  of process on behalf of                                                                                                                        on                                         .
                                                                              (name of organization)                                                                (date)


    I returned the summons unexecuted because                                                                                                                                            .
    Other (specify)                                                                                                                                                                     .

        My fees are $                                       for travel and $                                           for services, for a total of $                                    .
  I declare under the penalty of perjury that this information is true.
  Date:
                                                                                                                                         Server’s signature

  Additional information regarding attempted service, etc.:
                                                                                                                                  Server’s printed name and title



                                                                                                                                       Server’s address
